Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 1 of 8




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                        WEST PALM BEACH DIVISION

              Case No. 9:23-cv-81373- MIDDLEBROOKS-MATTHEWMAN


  CONSUMER FINANCIAL PROTECTION BUREAU
  Plaintiff,

  vs.

  FREEDOM MORTGAGE CORPORATION,
  Defendant.

                                       /


        PLAINTIFF’S MOTION TO COMPEL DEFENDANT TO RESPOND TO
        PLAINTIFF’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 2 of 8




                                     INTRODUCTION

         Pursuant to Fed. R. Civ. P. 37(a), Plaintiff Consumer Financial Protection Bureau

  (Bureau) respectfully moves this Court for an order compelling Defendant Freedom

  Mortgage Corporation (Defendant) to fully respond to the Bureau’s First Request for

  Production of Documents (Bureau’s First RFPs) consistent with Instruction I in those

  Requests. Unless a Request specifies otherwise, Instruction I sets the relevant time

  period for each Request in the Bureau’s First RFPs as June 5, 2019 to the present. 1 The

  relevant time period in Instruction I is consistent with the Bureau’s allegations as well as

  the demand for relief set forth in its Complaint. There is no valid basis for Defendant to

  resist complying with that Instruction.

                                      BACKGROUND

         The Bureau served its First RFPs on Defendant on December 27, 2023. See Ex. 1.

  The Bureau’s First RFPs feature 15 Requests, all of which pertain to Defendant’s

  compliance measures and actions concerning HMDA and Regulation C. Defendant

  provided its initial responses on January 26, in which it broadly asserted privileges over

  responsive documents and materials. See Ex. 2. Defendant also objected to the time

  period set forth in the Bureau’s Instruction I, contending that the Bureau’s allegations

  “are limited to the 2020 HMDA data Freedom submitted on February 26, 2021 and

  September 30, 2021.” Defendant repeated some form of this objection to Instruction I in

  response to every Request in the Bureau’s First RFPs.2


  1 Indeed, of the 15 Requests in the Bureau’s First RFPs, at least four specify a relevant

  time period for responsiveness far shorter than the period set forth in Instruction I.
  2 Notably, in its own Request for Production of Documents, Defendant seeks, for nearly

  all Requests, responsive documents “from 2019 to the present,” which is a longer
  relevant period than set forth in Instruction I in the Bureau’s First RFPs, to which
  Defendant objects.
                                               1
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 3 of 8




         The parties met and conferred on February 12 regarding Defendant’s January 26

  responses. The Bureau sent a letter to Defendant later that evening confirming the

  Bureau’s positions with respect to those responses, and requesting confirmation by

  February 16 regarding (among other things) whether Defendant would withdraw its

  objection to the relevant time period set forth in Instruction I and supplement its

  responses to the Bureau’s First RFPs accordingly. See Ex. 3.

         In its February 16 letter in response, Defendant stated “it does not object to the

  CFPB’s proposed start date of relevance of June 5, 2019, but reserves the right to object

  to individual requests as appropriate.” See Ex. 4. Defendant also “maintain[ed] its

  objection with respect to documents and information not already produced that were

  created after the end of 2021 that are not related to the 2020 HMDA data.” Then, later

  in its February 16 response, regarding certain Requests, Defendant “reiterate[d] its

  objections to the production of documents that are not related to the 2020 HMDA data.”

                                         ARGUMENT

         Fed. R. Civ. P. 26(b)(1) “defines the scope of discovery as ‘any non-privileged

  matter that is relevant to any party's claim or defense and proportional to the needs of

  the case,’ considering the importance of the issues at stake, the parties’ relative access to

  relevant information, the parties’ resources, the importance of the discovery, and

  whether the burden of the discovery outweighs the likely benefit.” Kadiyala v. Pupke,

  No. 17-80732-CIV, 2019 WL 3752654, at *2 (S.D. Fla. Aug. 8, 2019). “It is well

  established that the courts must employ a liberal standard in keeping with the purpose

  of the discovery rules.” Id. “The respondent bears the burden of establishing a lack of

  relevancy or some other basis for resisting production.” Id. “In other words, the

  respondent ‘must show either that the requested discovery (1) does not come within the

                                                2
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 4 of 8




  broad scope of relevance as defined under Rule 26 or (2) is of such marginal relevance

  that the potential harm occasioned by discovery would far outweigh the ordinary

  presumption in favor of broad disclosure.’” Id. (quoting Jeld-Wen, Inc. v. Nebula Glass

  Int’l, Inc., No. 05-60860-CIV, 2007 WL 1526649, at *2 (S.D. Fla. May 22, 2007)).

         By seeking to limit its responses to documents created before the end of 2021

  (unless previously provided during the Bureau’s preceding investigation), 3 Defendant

  ignores the relevance of documents created after 2021 to the allegations in the Bureau’s

  Complaint and to its demand for relief. In Count I, the Bureau alleges Defendant’s 2020

  HMDA reporting errors were not bona fide within the meaning of Regulation C. See 12

  C.F.R. § 1003.6(b)(1) (defining bona fide errors as “unintentional and occurred despite

  the maintenance of procedures reasonably adapted to avoid such an error”). Documents

  and information created after 2021 pertain (e.g., as points of comparison) to

  Defendant’s compliance deficiencies with respect to its prior HMDA systems,

  procedures, and practices. Accordingly, the Bureau seeks, for example, in its RFP No. 1

  “the policies, procedures, instructions, or training materials concerning HMDA or

  Regulation C” in effect on four key dates across the relevant time period: the effective

  date of the 2019 Consent Order the Bureau alleges Defendant violated in Count II; the

  dates of Defendant’s initial and revised HMDA data submissions in 2021; and the date

  the Bureau filed its Complaint in this action. Similarly, in its RFP No. 14, the Bureau

  seeks Defendant’s “reports, root-cause assessments, conclusions, or recommendations

  related to [its] HMDA submissions.” 4 By limiting its responses to documents created


  3 Defendant’s final document production in connection with the Bureau’s Civil

  Investigation Demand issued during that investigation came in April 2022.
  4 Defendant’s continued objection concerning relevant time period also obscures what

  Defendant deems responsive to certain Requests in the Bureau’s First RFPs. For
                                               3
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 5 of 8




  before the end of 2021 (unless previously provided during the Bureau’s investigation),

  Defendant deprives the Bureau of a crucial view into how Defendant’s reports,

  assessments, or recommendations concerning HMDA submissions later in the relevant

  period (as sought by RFP No. 14) may have evolved or compared to those created in

  connection with its 2020 data submissions.

         Documents created after 2021 are also relevant to the Bureau’s demand for relief,

  including the Bureau’s request for injunctive relief and the statutory factors courts shall

  consider in determining the amount of any civil money penalty under 12 U.S.C. §

  5565(c)(3). Regarding injunctive relief, more recent documents and information—for

  example, Defendant’s recent policies and procedures concerning HMDA compliance, or

  recent reports or recommendations concerning HMDA submissions—are particularly

  relevant to whether “there is a cognizable danger of recurrent violation.” FTC v. Cap.

  Choice Consumer Credit, Inc., No. 02-21050 CIV, 2004 WL 5149998, at *43 (S.D. Fla.



  example, in its January 26 response to RFP No. 14, Defendant cited more than 5,000
  Bates-numbered documents that it produced during the Bureau’s investigation that
  “may be responsive” (emphasis added). Defendant stated the same 5,000 Bates-
  numbered documents “may be responsive” to RFP No. 12 (seeking documents related to
  sampling, quality control, or validation testing of HMDA data conducted between
  February 27, 2021, and September 30, 2021), as well as for RFP No. 1o (seeking
  documents related to sampling, quality control, or validation testing of HMDA data
  conducted before February 26, 2021), despite the different time periods for those
  Requests, while also objecting to each Request “to the extent it seeks documents not
  related to the 2020 HMDA data[.]” In its forthcoming production, which Defendant has
  committed to providing by March 15, the Bureau expects that Defendant will address
  such deficiencies. See, e.g., ABX Logistics (USA), Inc. v. Menlo Logistics, Inc, No. 09-
  CV-12792, 2011 WL 824683, at *2 (E.D. Mich. Mar. 7, 2011) (“Defendant’s response
  identifying two blocks of bates numbered documents (totaling 289 pages) ‘as documents
  that may be responsive’ does not comply with Rule 34.” (emphasis in original)); AIM
  Immunotech, Inc v. Tudor, No. 5:22-CV-323-GAP-PRL, 2023 WL 3975996, at *3 (M.D.
  Fla. June 13, 2023) (“Defendants cannot simply refer to the production made in the
  Delaware action. Instead, they must produce the discovery in this action and identify
  which documents are responsive to each of Plaintiff’s specific discovery requests.”
  (emphasis in original)).
                                               4
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 6 of 8




  Feb. 20, 2004), aff’d, 157 F. App’x 248 (11th Cir. 2005). Indeed, Defendant has already

  challenged the Bureau’s injunction request at the Rule 12 stage. See, e.g., Dkt. 17 at 19.

  In sum, there is no basis on relevancy grounds for Defendant to unliterally withhold

  responsive, non-privileged documents created after 2021 when responding to the

  Bureau’s First RFPs.

         Along with relevancy, in its February 16 response letter, Defendant contended for

  the first time that “expanding the scope of discovery to other years that are related to

  other [i.e., non-2020] HMDA data” was also “burdensome,” “not proportionate to the

  needs of the case,” and would not be “even feasible under the Court’s scheduling order.”

  To be clear, the Bureau issued its First RFPs on December 27, 2023; discovery is not

  scheduled to close until April 2024. Defendant’s objection is particularly hollow given

  that it has declined to re-produce documents responsive to the Bureau’s First RFPs if

  Defendant had previously produced the document to the Bureau during the

  investigation. Indeed, as of today, Defendant has not produced any documents to the

  Bureau in response to its First RFPs. In short, lacking specificity or grounding,

  Defendant’s argument that the relevant time period set forth in Instruction I of the

  Bureau’s First RPFs is “burdensome” or otherwise “not proportionate to the needs of the

  case” amounts to a boilerplate objection that should be rejected.

                                       CONCLUSION

         For the foregoing reasons, the Bureau respectfully moves the Court to compel

  Defendant to comply with Instruction I in its First RFPs for its forthcoming

  supplemental responses to those Requests.

                             CERTIFICATE OF CONFERRAL

         Pursuant to Local Rule 7.1(a)(3), and paragraph 1 of the Court’s Order Setting

                                               5
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 7 of 8




  Discovery Procedure, I hereby certify that counsel for the Bureau has met-and-conferred

  with Defendant in good faith but have been unable to resolve the issues presented in this

  Motion.

  Dated: February 23, 2024                                      Respectfully Submitted,

                                                               /s/ Charles Eric Mothander
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                                              6
Case 9:23-cv-81373-DMM Document 39 Entered on FLSD Docket 02/23/2024 Page 8 of 8




                               CERTIFICATE OF SERVICE

         I hereby certify that on February 23, 2024, I electronically filed the foregoing
  document with the Clerk of Court using CM/ECF, which will provide automatic notice to
  the below listed counsel of record.

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                                               7
